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                     EXHIBIT B
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April 14, 2025

VIA ELECTRONIC MAIL

Josh Gruenbaum
Commissioner of the Federal Acquisition Service
General Services Administration

Sean R. Keveney
Acting General Counsel
U.S. Department of Health & Human Services

Thomas E. Wheeler
Acting General Counsel
U.S. Department of Education

Dear Messrs. Gruenbaum, Keveney, and Wheeler:

       We represent Harvard University. We are writing in response to your letter dated April 11,
2025, addressed to Dr. Alan Garber, Harvard’s President, and Penny Pritzker, Senior Fellow of the
Harvard Corporation.

       Harvard is committed to fighting antisemitism and other forms of bigotry in its community.
Antisemitism and discrimination of any kind not only are abhorrent and antithetical to Harvard’s
values but also threaten its academic mission.

        To that end, Harvard has made, and will continue to make, lasting and robust structural,
policy, and programmatic changes to ensure that the university is a welcoming and supportive
learning environment for all students and continues to abide in all respects with federal law across
its academic programs and operations, while fostering open inquiry in a pluralistic community free
from intimidation and open to challenging orthodoxies, whatever their source.
        Over the past 15 months, Harvard has undertaken substantial policy and programmatic
measures. It has made changes to its campus use policies; adopted new accountability procedures;
imposed meaningful discipline for those who violate university policies; enhanced programs
designed to address bias and promote ideological diversity and civil discourse; hired staff to
support these programs and support students; changed partnerships; dedicated resources to combat
hate and bias; and enhanced safety and security measures. As a result, Harvard is in a very different
place today from where it was a year ago. These efforts, and additional measures the university
will be taking against antisemitism, not only are the right thing to do but also are critical to
strengthening Harvard’s community as a place in which everyone can thrive.
      It is unfortunate, then, that your letter disregards Harvard’s efforts and instead presents
demands that, in contravention of the First Amendment, invade university freedoms long
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Messrs. Gruenbaum, Keveney, and Wheeler
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recognized by the Supreme Court. The government’s terms also circumvent Harvard’s statutory
rights by requiring unsupported and disruptive remedies for alleged harms that the government has
not proven through mandatory processes established by Congress and required by law. No less
objectionable is the condition, first made explicit in the letter of March 31, 2025, that Harvard
accede to these terms or risk the loss of billions of dollars in federal funding critical to vital research
and innovation that has saved and improved lives and allowed Harvard to play a central role in
making our country’s scientific, medical, and other research communities the standard-bearers for
the world. These demands extend not only to Harvard but to separately incorporated and
independently operated medical and research hospitals engaging in life-saving work on behalf of
their patients. The university will not surrender its independence or relinquish its constitutional
rights. Neither Harvard nor any other private university can allow itself to be taken over by the
federal government. Accordingly, Harvard will not accept the government’s terms as an agreement
in principle.
        Harvard remains open to dialogue about what the university has done, and is planning to
do, to improve the experience of every member of its community. But Harvard is not prepared to
agree to demands that go beyond the lawful authority of this or any administration.




        William A. Burck                                         Robert K. Hur

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